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                                                                                            10/19/2020
                                             THE CITY OF NEW YORK
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                                                                     October 16, 2020



        By NYSCEF
        Honorable Alison J. Nathan
        United States District Judge
        Southern District of New York
        40 Foley Square, Room 2102
        New York, New York 10007


                            Re: N.K. v. New York City Department of Education
                               20 CV 4745 (AJN)

        Dear Judge Nathan:

                        I am an Assistant Corporation Counsel in the Office of the Corporation Counsel
        assigned to represent Defendant New York City Department of Education (the “DOE”) in the
        above-referenced matter. Pursuant to the Court’s Order, dated September 24, 2020 (Dkt. No.
        10), I write on behalf of all parties to: (1) submit the proposed Civil Case Management Plan; and
        (2) respectfully request that the Court adjourn the October 23, 2020 initial conference to
        December 29, 2020, or a date thereafter that is convenient for the Court.

                       Plaintiffs commenced this action on June 19, 2020, seeking attorneys’ fees, costs
        and expenses for legal work on an administrative hearing pursuant to the Individuals with
        Disabilities Education Act, 20 U.S.C. §1400, et seq. (Dkt. No. 1) The sole issue to be
        determined in this matter is whether Plaintiffs’ attorneys’ fees are reasonable.

                      The parties are optimistic that this matter may be resolved through a negotiated
        settlement and, as such, a pretrial conference at this juncture may be unproductive. Plaintiffs’
        counselors have advised that they will provide to my office billing records, which are essential to
        advancing and adjudicating the claims, no later than October 30, 2020. Following receipt of
        such records, my office would then require time to obtain settlement authority from the New
        York City Comptroller’s Office.
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                   The parties agree that if settlement is unsuccessful, there will be limited
   discovery, if any, in this matter. Rather, the matter should then proceed to motion practice.

                  Accordingly, we respectfully submit the Civil Case Management Plan and
   respectfully request that the Court adjourn the initial conference to December 29, 2020, sixty
   days after the date that Plaintiffs’ counsel submit billing records. Thank you for your
   consideration of this request.

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                                                        Respectfully yours,



                                                               /s/ SNG
                     10/19/2020                         SHERRY N. GLOVER
                                                        Assistant Corporation Counsel




   Cc: Irina Roller, Esq. (by ECF)
      Mary Jo Whateley, Esq. (by ECF)




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